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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                    21-CIV-22280 BLOOM/OTAZO-REYES



      EMIN GÜN SIRER,

                Plaintiff,

      v.

      EMRE AKSOY,
           Defendant.




     PLAINTIFF’S MOTION TO FILE SELECT PORTIONS OF PLAINTIFF’S MOTION
                  FOR DEFAULT FINAL JUDGMENT UNDER SEAL

            In accordance with Local Rule 5.4(b), Plaintiff respectfully requests to file select portions

 of Plaintiff’s Motion for Default Final Judgment (the “Motion”) and related exhibits under seal.1

 Portions of Plaintiff’s Motion and related exhibits contain sensitive information regarding

 Plaintiff’s personal financial information.

            “The common law right of access may be overcome by a showing of good cause, which

 requires balancing the asserted right of access against the other party’s interest in keeping the

 information confidential.” Romero v. Drummond Co., 480 F.3d 1234, 1246 (11th Cir. 2007).

 Good cause exists for Plaintiff’s request as disclosure of such information will result in

 significant risk of exposure to economic harm and would constitute an unnecessary intrusion on

 Plaintiff’s individual privacy rights. See Fin. Info. Techs., Inc. v. iControl Sys., USA, LLC, No.


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     In accordance with Local R. 5.4(b)(1), Plaintiff seeks to maintain these select portions under seal indefinitely.
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 17 Civ. 190-T-23SPF, 2020 WL 11423020, at *1 (M.D. Fla. Apr. 29, 2020) (“While the Court

 recognizes the rights of the public to review court documents, it also acknowledges that the

 specific, private, commercially sensitive financial information redacted from the public filing

 warrants protection”).

        In considering a motion to seal, courts in this Circuit consider “whether allowing access

 would impair court functions or harm legitimate privacy interests, the degree of and likelihood of

 injury if made public, the reliability of the information, whether there will be an opportunity to

 respond to the information, whether the information concerns public officials or public concerns,

 and the availability of a less onerous alternative to sealing the documents.” Carraway v. BBC

 Sys., Inc., No. 18 Civ. 1413ORL37GJK, 2018 WL 7267876, at *2 (M.D. Fla. Oct. 30, 2018).

        Here, Plaintiff has narrowly tailored his request to those portions of the Motion and

 related exhibits which contain non-public personal financial information. The personal financial

 information of a private citizen is not a matter commonly discoverable to the public. See State

 Farm Mut. Auto. Ins. Co. v. Cereceda, No. 19 Civ. 22487, 2021 WL 3270326, at *2 (S.D. Fla.

 July 31, 2021) (“While a party may enjoy the right of access to pleadings, docket entries, orders,

 affidavits or depositions duly filed, the common-law right of access does not extend to

 information collected through discovery which is not a matter of public record.”). Further,

 disclosure of Plaintiff’s private financial information would serve to exacerbate the harm already

 caused by Defendant’s defamatory conduct. Accordingly, the privacy interest of maintaining the

 confidentiality of a private citizen’s financial information– information which is unrelated to the

 merits of this case –outweighs any right to public access. See Carraway, 2018 WL 7267876, at

 *2 (ordering redaction of financial information contained in affidavits as disclosure “would harm

 Defendant’s legitimate privacy interests by exposing its financial information to the public.”);




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 see also Donoff v. Delta Air Lines, Inc., No. 18-81258-CV, 2019 WL 2568020, at *2 (S.D. Fla.

 Mar. 14, 2019) (granting sealing of “sensitive financial information”); see also State Farm Mut.

 Auto. Ins. Co, 2021 WL 3270326, at *2 (ordering redaction of “all financial information”).

        Accordingly, Plaintiff respectfully requests leave to file select portions of the Motion and

 related exhibits, in redacted form, under seal to avoid disclosure of Plaintiff’s sensitive, personal

 financial information.



                                                Respectfully submitted,

                                                /s/ Devin (Velvel) Freedman
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